   Case 1:21-mj-03549-LMR Document 6 Entered on FLSD Docket 08/27/2021 Page 1 of 1


                                        M IN UTE O RD ER                                                     Page 1

                         Chief M agistrate ludge lohn 1.O 'Sullivan
                AtkinsBuildingEourthouse-5thFloor                     Date:8/27/2021 Time:1:00p.m.
Defendant: DAISUKEMIYAUCHI            J#:$ <# u            Case#: 21-MJ-3549-REID (SEA )
AUSA:        vx W/ ' . '--''                4..
                                              :      Attorney:
yjojation: Conspiracytosmugglewildlifef mtheUS/Smuggling surr/ArrestDate:8/27/2021                  YOB:1980
          ofgoods/merchandise
Proceeding: InitialAppearance                                   CJA Appt:
Bond/PTD Held:C Yes C No             Recommended Bondc
Bond Setat:                                                     Co-signed by:
 IQ
  C Surrenderand/ordonotobtainpassports/traveldocs                      Language'
                                                                                .' .                 .




 I-
  r-lReporttoPTSasdi   rected/or           x'saweek/monthby Di
                                                             sposition:                                      Jd-
                                                                                                               ztz .
     phone:        x'saweek/monthi
     Random urine testing by Pretrial
                                      nperson                                                                p    '
 RC Services
     Treatm entasdeem ed necessary                                                                       -
 r- Refrainfrom excessive useofalcohol                                        '        -
 C Participate in mentalhealthassessment& treatment
                                                                                                              #
 C Maintainorseekfull-timeemployment/education                            .
 Nr Nocontactwithvictims/witnesses,exceptthroughcounsel                                              .
 RC Nofirearms
 C Nottoencum berproperty
 C Maynotvisi
            ttransportationestablishm ents
 r Home Confinement/ElectronicM onitoring and/or
     Cudew              pm to           am ,paid by
     Allowances:M edicalneeds,courtappearances,attorney visits,
     reli
        gious,em ploym ent
 Nr Travelextendedto:                                                   yjmefromtodayto                  excluded
 C Other:                                                               from speedyTrialClock
NEv couRT APPEARANCE    oate:            Time:         Judge:                              Place:
 e ortRECounsel'                    V                 Ip
 T Bond Hearing'
               .                                 '
 relim Arrai   rRemoval:                                    0       M
StatusConference RE:
D.A.R.       : .                ;    .                      TimeinCourt:                Q
                                s/lohnJ.O'Sullivan                                     ChiefMagistrateJudge
